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                             Exhibit 25
       State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                         Abbott Laboratories, Inc., et al.

            Exhibit to the Declaration of Nicholas N. Paul in Support of
Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
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                                                   Exhibit 7
                                     Number of Individual Overpaid Claims
                                        January 1994 - December 2004


                                                                                 Individual Overpaid Claims
                                                           With Positive            With Missing or Negative
               Product Name                 NDC           Estimated AWP                  Estimated AWP             Total
                                                                                      (Number of Claims)
                                                                                                                   (3)+(4)
                    (1)                      (2)                 (3)                            (4)                  (5)


 1.   ACEBUTOLOL 200 MG CAPSULE         00378120001                     12,046                                11      12,057
 2.   ACEBUTOLOL 400 MG CAPSULE         00378140001                      4,576                                 4       4,580
 3.   ACYCLOVIR 200 MG CAPSULE          00378220001                     31,068                             1,147      32,215
 4.   ACYCLOVIR 400 MG TABLET           00378025301                     16,812                               658      17,470
 5.   ACYCLOVIR 400 MG TABLET           00378146401                      9,365                             3,766      13,131
 6.   ACYCLOVIR 800 MG TABLET           00378030201                     10,023                                75      10,098
 7.   ACYCLOVIR 800 MG TABLET           00378146801                      7,559                             7,150      14,709
 8.   ALBUTEROL SULFATE 4 MG TAB        00378057201                     22,360                               100      22,460
 9.   ALLOPURINOL 300 MG TABLET         00378018101                     27,083                                20      27,103
10.   ALLOPURINOL 300 MG TABLET         00378018105                     56,448                                10      56,458
11.   AMITRIP/PERPHEN 10-2 TABLET       00378033001                     23,067                               182      23,249
12.   AMITRIP/PERPHEN 10-2 TABLET       00378033005                     11,756                                11      11,767
13.   AMITRIP/PERPHEN 25-2 TABLET       00378044201                     60,617                               420      61,037
14.   AMITRIP/PERPHEN 25-2 TABLET       00378044205                     25,291                                30      25,321
15.   AMITRIP/PERPHEN 25-4 TABLET       00378057401                     52,057                               191      52,248
16.   AMITRIP/PERPHEN 25-4 TABLET       00378057405                     18,505                                 6      18,511
17.   AMITRIPTYLINE HCL 10 MG TAB       00378261001                     20,584                                24      20,608
18.   AMITRIPTYLINE HCL 10 MG TAB       00378261010                     17,297                                16      17,313
19.   AMITRIPTYLINE HCL 100 MG TAB      00378268501                     21,677                                 0      21,677
20.   AMITRIPTYLINE HCL 25 MG TAB       00378262501                     32,087                               287      32,374
21.   AMITRIPTYLINE HCL 25 MG TAB       00378262510                     76,000                               465      76,465
22.   AMITRIPTYLINE HCL 50 MG TAB       00378265001                     16,159                               331      16,490
23.   AMITRIPTYLINE HCL 50 MG TAB       00378265010                     63,861                               318      64,179
24.   ATENOLOL 100 MG TABLET            00378075701                     82,872                                77      82,949
25.   ATENOLOL 25 MG TABLET             00378021810                     82,894                                 0      82,894
26.   ATENOLOL 50 MG TABLET             00378023101                    137,416                               519     137,935
27.   ATENOLOL 50 MG TABLET             00378023110                    324,144                               120     324,264
28.   BUMETANIDE 2 MG TABLET            00378041701                      5,148                                17       5,165
29.   BUPROPION HCL 100 MG TABLET       00378043501                      9,257                                 6       9,263



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                                                   Exhibit 7
                                     Number of Individual Overpaid Claims
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                                                                                 Individual Overpaid Claims
                                                           With Positive            With Missing or Negative
              Product Name                  NDC           Estimated AWP                  Estimated AWP          Total
                                                                                      (Number of Claims)
                                                                                                                (3)+(4)
                   (1)                       (2)                 (3)                            (4)               (5)


30.   BUPROPION HCL 75 MG TABLET        00378043301                      9,861                              2       9,863
31.   BUSPIRONE HCL 15 MG TABLET        00378116580                     26,847                             42      26,889
32.   BUSPIRONE HCL 15 MG TABLET        00378116591                     30,141                            140      30,281
33.   BUSPIRONE HCL 30 MG TABLET        00378117591                     12,182                              0      12,182
34.   CAPTOPRIL 12.5 MG TABLET          00378300701                     17,737                             60      17,797
35.   CAPTOPRIL 25 MG TABLET            00378301201                     48,004                             97      48,101
36.   CAPTOPRIL 25 MG TABLET            00378301210                     23,180                             28      23,208
37.   CAPTOPRIL 50 MG TABLET            00378301701                     32,420                             31      32,451
38.   CARBIDOPA/LEVO 25/100 TB SA       00378008801                     22,209                             66      22,275
39.   CARBIDOPA/LEVO 50/200 TB SA       00378009401                     60,658                            493      61,151
40.   CEFACLOR 250 MG CAPSULE           00378725001                      5,111                         63,917      69,028
41.   CEFACLOR 500 MG CAPSULE           00378750001                      8,667                         40,878      49,545
42.   CEPHALEXIN 500 MG CAPSULE         00378605001                     73,606                          1,817      75,423
43.   CHLORPROPAMIDE 250 MG TABLET      00378021001                      5,986                              9       5,995
44.   CIMETIDINE 300 MG TABLET          00378031701                     47,596                            324      47,920
45.   CIMETIDINE 300 MG TABLET          00378031705                     14,763                             45      14,808
46.   CIMETIDINE 400 MG TABLET          00378037201                    188,195                          1,491     189,686
47.   CIMETIDINE 400 MG TABLET          00378037205                    158,075                            388     158,463
48.   CIMETIDINE 800 MG TABLET          00378054101                     28,535                             96      28,631
49.   CLONAZEPAM 0.5 MG TABLET          00378191010                     27,539                          1,314      28,853
50.   CLONAZEPAM 1 MG TABLET            00378191201                      9,117                              0       9,117
51.   CLONAZEPAM 1 MG TABLET            00378191210                     22,335                              0      22,335
52.   CLONIDINE HCL 0.1 MG TABLET       00378015201                     89,999                             94      90,093
53.   CLONIDINE HCL 0.1 MG TABLET       00378015210                    173,955                             58     174,013
54.   CLONIDINE HCL 0.2 MG TABLET       00378018601                     75,166                            118      75,284
55.   CLONIDINE HCL 0.2 MG TABLET       00378018610                     80,328                             19      80,347
56.   CLONIDINE HCL 0.3 MG TABLET       00378019901                     58,878                             40      58,918
57.   CLORAZEPATE 15 MG TABLET          00378007001                      2,181                              2       2,183
58.   CLORAZEPATE 3.75 MG TABLET        00378003001                      5,113                            236       5,349



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                                                   Exhibit 7
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                                                                                 Individual Overpaid Claims
                                                           With Positive            With Missing or Negative
               Product Name                 NDC           Estimated AWP                  Estimated AWP          Total
                                                                                      (Number of Claims)
                                                                                                                (3)+(4)
                    (1)                      (2)                 (3)                            (4)               (5)


59.   CLORAZEPATE 7.5 MG TABLET         00378004001                      4,644                            170       4,814
60.   CLOZAPINE 100 MG TABLET           00378086001                     20,336                              2      20,338
61.   CLOZAPINE 100 MG TABLET           00378086005                     10,072                              0      10,072
62.   CLOZAPINE 25 MG TABLET            00378082501                      8,472                              0       8,472
63.   DIAZEPAM 10 MG TABLET             00378047705                     41,331                              4      41,335
64.   DIAZEPAM 5 MG TABLET              00378034505                     39,592                             15      39,607
65.   DICYCLOMINE 10 MG CAPSULE         00378161001                     26,253                              0      26,253
66.   DICYCLOMINE 20 MG TABLET          00378162001                     15,761                              0      15,761
67.   DILTIAZEM 30 MG TABLET            00378002301                     36,948                            100      37,048
68.   DILTIAZEM 30 MG TABLET            00378002305                     31,227                             39      31,266
69.   DILTIAZEM 60 MG TABLET            00378004501                     31,583                             68      31,651
70.   DILTIAZEM 60 MG TABLET            00378004505                     26,247                             17      26,264
71.   DILTIAZEM 90 MG TABLET            00378013501                     11,602                             21      11,623
72.   DILTIAZEM ER 120 MG CAP SA        00378522001                     30,051                              5      30,056
73.   DILTIAZEM ER 120 MG CAP SA        00378612001                      8,574                              0       8,574
74.   DILTIAZEM ER 180 MG CAP SA        00378528001                     48,492                              0      48,492
75.   DILTIAZEM ER 240 MG CAP SA        00378534001                     52,990                              0      52,990
76.   DILTIAZEM ER 240 MG CAP SA        00378534005                      4,300                              0       4,300
77.   DILTIAZEM ER 60 MG CAP SA         00378606001                      6,643                              0       6,643
78.   DILTIAZEM ER 90 MG CAP SA         00378609001                      7,362                              1       7,363
79.   DIPHENOXYLATE/ATROPINE TAB        00378041501                     68,482                          3,451      71,933
80.   DIPHENOXYLATE/ATROPINE TAB        00378041510                    249,234                         38,210     287,444
81.   DOXEPIN 10 MG CAPSULE             00378104901                     13,633                              1      13,634
82.   DOXEPIN 100 MG CAPSULE            00378641001                     25,768                              0      25,768
83.   DOXEPIN 25 MG CAPSULE             00378312501                     24,070                              2      24,072
84.   DOXEPIN 50 MG CAPSULE             00378425001                     36,173                              9      36,182
85.   DOXEPIN 50 MG CAPSULE             00378425010                      6,281                              0       6,281
86.   ENALAPRIL MALEATE 10 MG TAB       00378105301                     15,766                          1,959      17,725
87.   ENALAPRIL MALEATE 2.5 MG TAB      00378105101                      4,606                          1,477       6,083



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                                                    Exhibit 7
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                                                                                  Individual Overpaid Claims
                                                            With Positive            With Missing or Negative
                Product Name                 NDC           Estimated AWP                  Estimated AWP          Total
                                                                                       (Number of Claims)
                                                                                                                 (3)+(4)
                     (1)                      (2)                 (3)                            (4)               (5)


 88.   ENALAPRIL MALEATE 20 MG TAB       00378105401                     10,413                          4,713      15,126
 89.   ENALAPRIL MALEATE 5 MG TAB        00378105201                     12,133                          3,633      15,766
 90.   ERYTHROMYCIN ST 500 MG TAB        00378010701                     54,865                          1,656      56,521
 91.   FAMOTIDINE 20 MG TABLET           00378302001                    101,606                         11,230     112,836
 92.   FAMOTIDINE 40 MG TABLET           00378304001                     12,381                            357      12,738
 93.   FLUPHENAZINE 1 MG TABLET          00378600401                     17,127                             40      17,167
 94.   FLUPHENAZINE 10 MG TABLET         00378609701                     64,696                            158      64,854
 95.   FLUPHENAZINE 10 MG TABLET         00378609705                     17,217                              2      17,219
 96.   FLUPHENAZINE 2.5 MG TABLET        00378600901                     19,317                             50      19,367
 97.   FLUPHENAZINE 5 MG TABLET          00378607401                     65,024                            214      65,238
 98.   FLUPHENAZINE 5 MG TABLET          00378607405                     16,046                              1      16,047
 99.   FLURAZEPAM 15 MG CAPSULE          00378441501                     52,502                            295      52,797
100.   FLURAZEPAM 15 MG CAPSULE          00378441505                     25,929                             42      25,971
101.   FLURAZEPAM 30 MG CAPSULE          00378443001                    115,635                            519     116,154
102.   FLURAZEPAM 30 MG CAPSULE          00378443005                     82,187                             68      82,255
103.   FLURBIPROFEN 100 MG TABLET        00378009301                     33,214                              2      33,216
104.   FLURBIPROFEN 100 MG TABLET        00378009305                     11,144                              0      11,144
105.   FLUVOXAMINE MAL 100 MG TAB        00378041401                      3,747                              0       3,747
106.   FLUVOXAMINE MALEATE 50 MG TB      00378041201                      2,798                              1       2,799
107.   FUROSEMIDE 20 MG TABLET           00378020801                     92,782                            297      93,079
108.   FUROSEMIDE 20 MG TABLET           00378020810                    381,759                            440     382,199
109.   FUROSEMIDE 40 MG TABLET           00378021601                    169,953                            193     170,146
110.   FUROSEMIDE 40 MG TABLET           00378021610                    704,350                          1,480     705,830
111.   FUROSEMIDE 80 MG TABLET           00378023201                    133,794                            283     134,077
112.   FUROSEMIDE 80 MG TABLET           00378023205                     86,532                              2      86,534
113.   GLIPIZIDE 10 MG TABLET            00378111001                    203,924                          1,247     205,171
114.   GLIPIZIDE 10 MG TABLET            00378111005                    155,950                            337     156,287
115.   GLIPIZIDE 5 MG TABLET             00378110501                    243,811                          1,508     245,319
116.   GLIPIZIDE 5 MG TABLET             00378110505                    160,693                            430     161,123



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                                                Exhibit 7
                                  Number of Individual Overpaid Claims
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                                                                             Individual Overpaid Claims
                                                        With Positive           With Missing or Negative
               Product Name              NDC           Estimated AWP                 Estimated AWP           Total
                                                                                  (Number of Claims)
                                                                                                             (3)+(4)
                    (1)                   (2)                 (3)                           (4)                (5)


117.   GUANFACINE 1 MG TABLET         00378116001                   34,899                               0      34,899
118.   GUANFACINE 2 MG TABLET         00378119001                   10,352                               0      10,352
119.   HALOPERIDOL 0.5 MG TABLET      00378035101                   18,006                              74      18,080
120.   HALOPERIDOL 0.5 MG TABLET      00378035110                   13,908                               3      13,911
121.   HALOPERIDOL 1 MG TABLET        00378025701                   32,069                              93      32,162
122.   HALOPERIDOL 1 MG TABLET        00378025710                   21,934                               1      21,935
123.   HALOPERIDOL 2 MG TABLET        00378021401                   40,150                              97      40,247
124.   HALOPERIDOL 2 MG TABLET        00378021410                   24,408                              17      24,425
125.   HALOPERIDOL 5 MG TABLET        00378032701                   92,215                             208      92,423
126.   HALOPERIDOL 5 MG TABLET        00378032710                   82,115                              31      82,146
127.   HYDROXYCHLOROQUINE 200 MG TB   00378037301                    6,826                               0       6,826
128.   INDOMETHACIN 25 MG CAPSULE     00378014301                   16,826                             254      17,080
129.   INDOMETHACIN 25 MG CAPSULE     00378014310                   13,201                              32      13,233
130.   INDOMETHACIN 50 MG CAPSULE     00378014701                   13,949                             161      14,110
131.   INDOMETHACIN 50 MG CAPSULE     00378014705                   10,440                               6      10,446
132.   KETOPROFEN 50 MG CAPSULE       00378407001                    6,039                               0       6,039
133.   KETOPROFEN 75 MG CAPSULE       00378575001                   27,566                               0      27,566
134.   LOPERAMIDE 2 MG CAPSULE        00378210001                    7,656                               3       7,659
135.   LORAZEPAM 0.5 MG TABLET        00378032101                   12,011                               3      12,014
136.   LORAZEPAM 0.5 MG TABLET        00378032105                   10,879                               0      10,879
137.   LORAZEPAM 1 MG TABLET          00378045701                   16,213                               6      16,219
138.   LORAZEPAM 1 MG TABLET          00378045705                   10,494                               3      10,497
139.   LORAZEPAM 1 MG TABLET          00378045710                    8,379                               2       8,381
140.   LORAZEPAM 2 MG TABLET          00378077701                    8,557                               6       8,563
141.   LORAZEPAM 2 MG TABLET          00378077705                    3,916                               0       3,916
142.   METHOTREXATE 2.5 MG TABLET     00378001401                   62,774                             117      62,891
143.   METHYLDOPA 250 MG TABLET       00378061101                   15,284                              32      15,316
144.   METHYLDOPA 500 MG TABLET       00378042101                    7,929                               4       7,933
145.   METHYLDOPA/HCTZ 250-25 TAB     00378071101                    3,684                              12       3,696



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                                                                               Individual Overpaid Claims
                                                         With Positive            With Missing or Negative
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                                                                                    (Number of Claims)
                                                                                                                 (3)+(4)
                     (1)                   (2)                 (3)                            (4)                  (5)


146.   METOPROLOL 100 MG TABLET        00378004701                    69,515                                18      69,533
147.   METOPROLOL 100 MG TABLET        00378004710                    42,260                                 1      42,261
148.   METOPROLOL 50 MG TABLET         00378003201                   148,733                                46     148,779
149.   METOPROLOL 50 MG TABLET         00378003210                   312,375                                 6     312,381
150.   NAPROXEN 250 MG TABLET          00378037701                    49,683                             3,979      53,662
151.   NAPROXEN 375 MG TABLET          00378055501                    67,747                             9,727      77,474
152.   NAPROXEN 375 MG TABLET          00378055505                   130,657                             6,103     136,760
153.   NAPROXEN 500 MG TABLET          00378045101                   131,972                               479     132,451
154.   NAPROXEN 500 MG TABLET          00378045105                   247,095                                64     247,159
155.   NICARDIPINE 20 MG CAPSULE       00378102077                     3,913                                35       3,948
156.   NICARDIPINE 30 MG CAPSULE       00378143077                     2,357                                 7       2,364
157.   NIFEDIPINE ER 30 MG TABLET      00378347501                   117,618                                 1     117,619
158.   NIFEDIPINE ER 30 MG TABLET      00378347530                    58,688                                 0      58,688
159.   NIFEDIPINE ER 60 MG TABLET      00378348201                   118,124                                 0     118,124
160.   NIFEDIPINE ER 60 MG TABLET      00378348230                    35,727                                 0      35,727
161.   NITROFURANTOIN MCR 100 MG CP    00378170001                     9,150                             1,644      10,794
162.   NITROFURANTOIN MCR 50 MG CAP    00378165001                     4,923                               550       5,473
163.   NITROGLYCERIN 0.2 MG/HR PTCH    00378910493                    11,439                                 0      11,439
164.   NITROGLYCERIN 0.4 MG/HR PTCH    00378911293                    12,218                                 0      12,218
165.   NORTRIPTYLINE HCL 25 MG CAP     00378232501                    14,194                                 7      14,201
166.   NORTRIPTYLINE HCL 50 MG CAP     00378325001                    12,034                                 7      12,041
167.   PENTOXIFYLLINE 400 MG TAB SA    00378035701                    45,115                             2,201      47,316
168.   PHENYTOIN SOD EXT 100 MG CAP    00378156001                   189,848                             1,425     191,273
169.   PHENYTOIN SOD EXT 100 MG CAP    00378156010                   291,607                             2,592     294,199
170.   PINDOLOL 5 MG TABLET            00378005201                    11,737                                40      11,777
171.   PIROXICAM 20 MG CAPSULE         00378202001                   124,841                               724     125,565
172.   PIROXICAM 20 MG CAPSULE         00378202005                    38,402                               154      38,556
173.   PREDNISOLONE 15 MG/5 ML SYRUP   00378342548                    18,111                               695      18,806
174.   PROBENECID 500 MG TABLET        00378015601                    13,148                                32      13,180



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                                                                              Individual Overpaid Claims
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               Product Name              NDC           Estimated AWP                  Estimated AWP             Total
                                                                                   (Number of Claims)
                                                                                                                (3)+(4)
                    (1)                   (2)                 (3)                            (4)                  (5)


175.   PROCHLORPERAZINE 10 MG TAB     00378511001                    61,623                             3,643      65,266
176.   PROCHLORPERAZINE 5 MG TABLET   00378510501                    21,788                                 0      21,788
177.   PROPOXY-N/APAP 100-650 TAB     00378015501                     6,468                             1,239       7,707
178.   PROPOXY-N/APAP 100-650 TAB     00378015505                    12,950                             4,804      17,754
179.   PROPOXY-N/APAP 100-650 TAB     00378115505                     6,854                               352       7,206
180.   PROPRANOLOL 20 MG TABLET       00378018310                    17,019                                12      17,031
181.   SPIRONOLACT/HCTZ 25/25 TAB     00378014101                    21,813                                 9      21,822
182.   SPIRONOLACT/HCTZ 25/25 TAB     00378014105                    11,066                                11      11,077
183.   SPIRONOLACTONE 25 MG TABLET    00378214601                   172,274                               157     172,431
184.   SPIRONOLACTONE 25 MG TABLET    00378214605                   158,553                                72     158,625
185.   SULINDAC 200 MG TABLET         00378053101                    19,530                                12      19,542
186.   TEMAZEPAM 15 MG CAPSULE        00378401001                   187,132                                 1     187,133
187.   TEMAZEPAM 15 MG CAPSULE        00378401005                   111,339                                 0     111,339
188.   TEMAZEPAM 30 MG CAPSULE        00378505001                   185,535                                 2     185,537
189.   TEMAZEPAM 30 MG CAPSULE        00378505005                   104,484                                 0     104,484
190.   TERAZOSIN 1 MG CAPSULE         00378226001                     2,596                                 0       2,596
191.   TERAZOSIN 2 MG CAPSULE         00378226401                     5,107                               539       5,646
192.   TERAZOSIN 5 MG CAPSULE         00378226801                     3,944                               216       4,160
193.   THIORIDAZINE 10 MG TABLET      00378061201                    28,011                               162      28,173
194.   THIORIDAZINE 10 MG TABLET      00378061210                    12,416                                39      12,455
195.   THIORIDAZINE 100 MG TABLET     00378061801                    54,987                               195      55,182
196.   THIORIDAZINE 100 MG TABLET     00378061810                    26,954                                67      27,021
197.   THIORIDAZINE 25 MG TABLET      00378061401                    49,753                               322      50,075
198.   THIORIDAZINE 25 MG TABLET      00378061410                    20,153                                64      20,217
199.   THIORIDAZINE 50 MG TABLET      00378061601                    63,878                               235      64,113
200.   THIORIDAZINE 50 MG TABLET      00378061610                    27,741                                57      27,798
201.   THIOTHIXENE 10 MG CAPSULE      00378501001                    65,091                               102      65,193
202.   THIOTHIXENE 10 MG CAPSULE      00378501010                    12,368                                20      12,388
203.   THIOTHIXENE 2 MG CAPSULE       00378200201                    34,187                                57      34,244



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                                                                                   Individual Overpaid Claims
                                                                With Positive         With Missing or Negative
                Product Name                  NDC              Estimated AWP               Estimated AWP            Total
                                                                                         (Number of Claims)
                                                                                                                    (3)+(4)
                     (1)                        (2)                  (3)                           (4)                (5)


204.   THIOTHIXENE 5 MG CAPSULE           00378300501                    66,325                              122       66,447
205.   TOLMETIN SODIUM 400 MG CAP         00378520001                     7,269                                5        7,274
206.   TOLMETIN SODIUM 600 MG TAB         00378031301                     4,776                                0        4,776
207.   TRAMADOL HCL 50 MG TABLET          00378415101                    25,172                            6,811       31,983
208.   TRAMADOL HCL 50 MG TABLET          00378415105                    18,669                            4,419       23,088
209.   TRIAMTERENE/HCTZ 75/50 TAB         00378135505                    35,063                                0       35,063
210.   TRIFLUOPERAZINE 10 MG TABLET       00378241001                     7,275                                0        7,275
211.   TRIFLUOPERAZINE 5 MG TABLET        00378240501                     8,256                                0        8,256
212.   VERAPAMIL 120 MG TABLET SA         00378112001                    37,178                                0       37,178
213.   VERAPAMIL 180 MG CAP PELLET        00378638001                     4,211                                1        4,212
214.   VERAPAMIL 180 MG TABLET SA         00378118001                    22,211                               30       22,241
215.   VERAPAMIL 240 MG CAP PELLET        00378644001                     8,996                                0        8,996
216.   VERAPAMIL 240 MG TABLET SA         00378041101                    24,604                                0       24,604
217.   VERAPAMIL 240 MG TABLET SA         00378041105                    67,098                                0       67,098
       Total                                                         11,403,062                          257,994   11,661,056




                                 Source: Cols. (1)-(2): Current NDC Counts 12-2007.xls;
                                         Cols. (3)-(4): Mylan claims data and transaction data.




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